                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                             CASE NO. 5:23-cv-00003


ERIC KARCHMER,

Plaintiff,

v.

APPALACHIAN STATE UNIVERSITY and
SHERI EVERTS Chancellor of Appalachian
State University, in her official capacity,

Defendants.



              ORDER GRANTING PLAINTIFF’S CONSENT MOTION FOR
             EXTENSION OF DEADLINE TO RESPOND TO DEFENDANTS’
               MOTION TO DISMISS AND SUBMIT HIS SUPPORTING
                           MEMORANDUM OF LAW

        Based upon the foregoing Motion, and for good cause shown, it is ORDERED that

Plaintiff may have up to and including May 2, 2023, within which to serve his response to

motion to dismiss and supporting memorandum of law.

                             This the _____ day of ______________, 2023.


                                            ____________________________________
                                            Presiding Judge/Magistrate Judge/Clerk




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